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                       THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TONI ANN QUAGLIARIELLO,
MARIA SIMON, and CHRISTLYNN                 : CIVIL ACTION NO. 3:20-CV-699
KARNS, individually and on behalf of        : (JUDGE MARIANI)
all similarly situated persons.

              Plaintiffs,

              V.


LEONARD DiPASQUALE, individually
and t/b/d/a LEAVE IT TO BEAVERS
GENTLEMEN'S CLUB and/or
TAVERN IN THE GLEN, JOHN DOE
t/d/b/a LEAVE IT TO BEAVERS
GENTLEMEN'S CLUB, DUANE CRAIG,
and JOSEPH SHOEMAKER,

              Defendants.

                                           ORDER

                                       AY OF JUNR 2022, upon consideration of

Plaintiffs' Motion to Conditionally Certify a Fair Labor Standards Act Collective Action and

Send Notice to the Collective (Doc. 45) and all relevant documents, for the reasons set forth

in the accompanying Memorandum Opinion, IT IS HEREBY ORDERED THAT:

   1. Plaintiffs' Motion to Conditionally Certify a Fair Labor Standards Act Collective Action

       and Send Notice to the Collective (Doc. 45) is GRANTED.
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2. The Court conditionally certifies a collective action consisting of all current and

   former exotic dancers who provided services at Leave it to Beavers Gentlemen's

   Club at any time from April 27, 2017, through the entry of final judgment in this case.

3. The FLSA statute of limitations is tolled for all potential class members from April 27,

   2020, through the date of the deadline to be established by the Court for all collective

   members to file their respective consents to join this collective action.

4. Defendants shall provide requested information about all persons who provided

   services as dancers at the Leave it to Beavers Gentlemen's Club since April 27,

   2017. If Defendants are not able to provide all requested information, they shall

   provide a declaration as to why they are unable to do so.

5. Counsel for Plaintiffs are permitted to send notice of the pendency of this collective

   action to potential collective members in a form approved by the Court. Counsel for

   Plaintiffs shall submit a proposed form of notice for approval by the Court within

   fourteen (14) days of the date of this Order. Defendants are allowed seven (7)

   days thereafter to submit objections to the proposed form of notice.

6. Counsel for Plaintiffs are permitted to send a follow-up notice in a form approved by

   the Court. Counsel for Plaintiffs will be directed to submit a proposed form of follow-

   up notice for approval by the Court within fourteen (14) days of the date of this

   Memorandum Opinion and accompanying Order. Defendants will be allowed seven
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   (7) days thereafter to submit their objections to the proposed form of follow-up

   notice.

7. Defendants shall post the notice of the pendency of this collective action in locations

   which are conspicuous to Club dancers.
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